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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

RENE ORTIZ,                                    §
    #55199-177,                                §
                     Plaintiff,                §
                                               §
V.                                             §     Civil Action No. 3:24-CV-2602-X-BK
                                               §
BUREAU OF PRISONS,                             §
              Defendant.                       §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed. The court reviewed the

proposed Findings, Conclusions, and Recommendation for plain error. Finding none,

the court ACCEPTS the Findings, Conclusions, and Recommendation of the United

States Magistrate.

       IT IS SO ORDERED this 28th day of April, 2025.




                                          ____________________________________
                                          BRANTLEY STARR
                                          UNITED STATES DISTRICT JUDGE
